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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                             :       CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC                    :       BANKRUPTCY NO. 22-10609(AMC)

                                Debtor         :


               CONSENT ORDER RESOLVING MOTION OF HASAN TAHIRAJ
              TO LIFT AUTOMATIC STAY AND PERMIT ACTION TO PROCEED
                     IN NEW YORK STATE SUPREME COURT [D-I. 62]

         THIS IS A CONSENT ORDER (the “Consent Order”) by and between Scungio Borst &

Associates, LLC (the “Debtor”) and Hasan Tahiraj (“Tahirai”, and together with the Debtor, the

“Parties”).

                                         BACKGROUND

         A.      On March 11, 2022 (the “Petition Date”), the Debtor filed a voluntary petition for

relief pursuant to Chapter 11 of Title 11, United States Code (the “Bankruptcy Code”).

         B.      Since the Petition Date, the Debtor has remained in possession of its assets and is

liquidating its business as a debtor-in-possession pursuant to §§ 1107 and 1108 of the Bankruptcy

Code.

         C.      Prior to the Petition Date, Tahiraj allegedly sustained personal injuries and

currently has an action pending in New York State Supreme Court, Kings County to recover

damages against several defendants including the Debtor. The litigation is styled Tahiraj v.

Brooklyn Kings Plaza LLC, et al., Index No. 513231/2016 (the “State Court Action”).

         D.      On April 13, 2022, Tahiraj filed a Motion to Lift Automatic Stay to Proceed in

New York State Supreme Court seeking, inter alia, a termination of the automatic stay with

respect to the State Court Action (the “Motion”) [D.E. 62].



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        E.      The Parties have concluded that resolving the Motion by this Consent Order is

appropriate under governing law and consistent with the interest of the Debtor’s estate, its creditors

and parties in interest.

        NOW, THEREFORE, the foregoing Background being incorporated herein and made a

part hereof, and with the agreement of the Parties, it is hereby ORDERED as follows:

        1.      The automatic stay is modified solely to permit the continuance and prosecution of

the State Court Action and any subsequent appeals taken by any parties thereto.

        2.      Tahiraj waives his right to collect from any assets of the Debtor’s bankruptcy estate

on account of any claim that has been or could be asserted in or as a result of the State Court Action

or entry of any judgment or settlement therein. Tahiraj shall not file or otherwise assert any claim

or claims in the Debtor’s bankruptcy case arising from or related to the State Court Action.

        3.      Except as set forth herein, the provisions of Section 362 of the Bankruptcy Code

shall remain in full force and effect. Tahiraj shall not attempt to cause any action to be taken to

collect or otherwise enforce any portion of any settlement with, or judgment that may be obtained

against, the Debtor in the State Court Action from assets or property of the Debtor’s estate.

        4.      Tahiraj shall be limited by, and shall look strictly and solely to, the proceeds of the

applicable policy or policies of insurance maintained by the Debtor with respect to any liability of

the Debtor arising from or relating to the State Court Action.

        5.      Tahiraj, nor any of his agents, attorneys or representatives, shall take any action or

attempt to cause any action to be taken to collect from the Debtor or its bankruptcy estate all or

any portion of any claim relating to, or any judgment obtained in, the State Court Action.

        6.      Any and all rights belonging to Tahiraj to collect any such claim or judgment from

the Debtor or its bankruptcy estate, other than those claims for the proceeds of applicable policy

or policies of insurance maintained by the Debtor with respect to any liability of the Debtor arising



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  from or relating to the State Court Action, is hereby released, waived, discharged and expunged

  with prejudice.

         7.         This Consent Order shall be binding upon and inure to the benefit of the Parties

  hereto and their heirs, executors, administrators, predecessors, trustees, successors and assigns.

         8.         The Court shall retain jurisdiction to hear and determine all matters arising from

  the implementation of this Consent Order.


                                                 BY THE COURT:


  Dated:______________                           _______________________________________
                                                 ASHELY M. CHAN,
  Date: April 27, 2022                           UNITED STATES BANKRUPTCY JUDGE



  CONSENT IS HEREBY GIVEN
  TO THE FORM, SUBSTANCE AND
  ENTRY OF THE WITHIN ORDER:


  KARALIS PC                                             JAROSLAWICZ & JAROS PLLC



  By:        IX__________________________
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         Attorneys for the Debtor


  Dated: April VA , 2022                                 Dated: April 24, 2022




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